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U.S. Department of Justice

 

United States Attorney
Southern District of New York

 

The Silvio J. Mollo Building
One Saint Andrew's Plaza
New York, New York 10007

February 26, 2021

BY ELECTRONIC MAIL

 

The Honorabie Jed S. Rakoff
United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: United States v. James Patterson
S4 20 Cr. 188 (JSR)

Dear Judge Rakoff:

The Government writes regarding an error in the cooperation agreement (the “Original
Agreement”) to which defendant James Patterson pled guilty on February 19, 2021, in the above-
captioned case. The Original Agreement contains the following erroneous forfeiture-related
provision: “The defendant consents to the entry of the Consent Order of Forfeiture annexed hereto
as Exhibit A and agrees that the Consent Order of Forfeiture shall be final as to the defendant at
the time it is ordered by the Court.” While the defendant indeed admitted as part of the Original
Agreement to “forfeit to the United States ... a sum of moncy in United States currency,
representing the amount of proceeds traceable to the commission [of Count One of the
Information],” there was in factno consent order of forfeiture attached as an exhibit to the Original
Agreement, and thus no agreement between the parties as to any such order.

A revised version of the Agreement (the “Revised Agreement”), in which the erroneous
provision is crossed out and initialed by the parties, is attached here as Exhibit |. The parties
understand the Revised Agreement to be the operative agreement between the Government and
the defendant, Because the Court appropriately allocated the defendant as to his admission to the
forfeiture allegation with respect to Count One of the Information during the plea colloquy on

 
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Letter to Honorable Jed S. Rakoff
February 26, 2021

February 19, 2021, the parties agree that no further allocution on the Revised Agreement is
required.

Respectfully submitted,

AUDREY STRAUSS
United States Attorney

By: /sf
Christopher DiMase / Emily Deininger /
Nicholas Folly / Tara La Morte
Assistant United States Attorneys
(212) 637-2433 /-2472/-1060 /-1041

ce: Emily Schuiman, Esq.

 

1 See February 19, 2021 plea transcript at page 13, lines 23-25 (THE COURT: “As part of this
agreement, you’ve also agreed to a forfeiture; is that correct?” THE DEFENDANT: “Yes, your
Honor.”),

 
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EXHIBIT 1

 
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U.S. Department of Justice

 

United States Attorney
Southern District of New York

 

The Silvio J. Molio Building
One Saint Andrew's Plaza
New York, New York 10007

January 25, 2021

Emily Schulman, Esq.

Wilmer Cutler Pickering Hale and Dorr LLP
60 State Street -

Boston, MA 02109

Email: Emily.Schulman@wilmerhale.com

Re: United States v. James Patterson, 84 20 Cr. 188 (JSR)

Dear Ms, Schulman:

On the understandings specified below, the Office of the United States Attorney for the
Southern District of New York (“this Office”) will accept a guilty plea from James Patterson (the
“defendant”) to the above-referenced Superseding Information (the “Information”),

Count One of the Information charges the defendant with conspiracy to commit bank fraud,
from in or about 2016, up to and including in or about 2019, in violation of Title 18, United States
Code, Section 1349. This charge carries‘a maximum a maximum term of imprisonment of 30
years; a maximum term of supervised release of five years; a maximum fine, pursuant to Title 18,
United States Code, Section 3571 of the greatest of $1,000,000, twice the gross pecuniary gain
derived from the offense, or twice the gross pecuniary loss to persons other than the defendant
resulting from the offense; and a $100 mandatory special assessment,

It ig further understood that the defendant shall make restitution in an amount to be
specified by the Court in accordance with 18 U.S.C, §§ 3663, 3663A, and 3664, This amount shall
be paid according to a plan established by the Court.

The defendant hereby admits the forfeiture allegation with respect to Count One of the
Information and agrees to forfeit to the United States, pursuant to Title 18, United States Code,
Section 982(a)(2)(A), a sum of money in United States currency, representing the amount of
proceeds traceable to the commission of said offense (the “Money Judgment”). It is further
understood that any forfeiture of the defendant’s assets shall not be treated as satisfaction of any
fine, restitution, cost of imprisonment, or any other penalty the Court may impose upon him in aS
addition to forfeiture, The defendant-consentstothe entry of-the Consent Order-oi fo eiture CJD .

 
 

   

It is understood that the defendant (a) shall truthfully and completely disclose all
information with respect to the activities of himself and others concerning all matters about which
this Office inquires of him, which information can be used for any purpose; (b) shall cooperate

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fully with this Office, the Federal Bureau of Investigation, and any other law enforcement agency
designated by this Office; (c) shall attend all meetings at which this Office requests his presence;
(d) shall provide to this Office, upon request, any docurhent, record, or other tangible evidence
relating to matters about which this Office or any designated law enforcement agency inquires of
him; (c) shall truthfully testify before the grand jury and at any trial and other court proceeding
with respect to any matters about which this Office may request his testimony, (f) shall bring to
this Office’s attention all crimes which he has committed, and all administrative, civil, or criminal
proceedings, investigations, or prosecutions in which he has been or is a subject, target, party, or
witness; and, (g) shall commit no further crimes whatsoever. Moreover, any assistance the
defendant may provide to federal criminal investigators shall be pursuant to the specific
_ instructions and control of this Office and designated investigators.

It is understood that this Office cannot, and does not, agree not to prosecute the defendant
for criminal tax violations, if any, However, if the defendant fully complies with the
understandings specified in this Agreement, no testimony or other information given by him (or
any other information directly or indirectly derived therefrom) will be used against him in any
criminal tax prosecution, Moreover, if the defendant fully complies with the understandings
specified in this Agreement, he will not be further prosecuted criminally by this Office for any
crimes, except for criminal tax violations, related to his participation in: (1) a scheme to defraud
banks and credit card companies in the United States and elsewhere, thereby causing banks and
credit card companies to process marijuana transactions over Eaze sales platforms that those banks
and credit card companies would not have otherwise processed, between approximately 2016 and
2019, as charged in Count One of the Information; (2) facilitating the distribution of marijuana
through the Eaze sales platform, between approximately 2016 and 2019; and (3) possession, for
personal use, of cocaine on several occasions between approximately 2011 and 2014, MDMA on
a single occasion in or about 2013 or 2014, and marijuana on numerous occasions between
approximately 2016 and 2019, to the extent that he has disclosed such participation to this Office
as of the date of this Agreement. It is understood that all of the uncharged conduct set forth above
constitutes either relevant conduct, pursuant to United States Sentencing Guidelines (“U.S.8.G.")
Section 1B1.3, or other conduct of the defendant, pursuant to U.S.S,G. § 1B1.4, that the Court may
consider at the time of sentencing.

This Agreement does not provide any protection against prosecution for any crimes except
as set forth above.

It is understood that this Agreement does not bind any federal, state, or local prosecuting
authority other than this Office. This Office will, however, bring the cooperation of the defendant
to the attention of other prosecuting offices, if requested by him,

It is understood that the sentence to be imposed upon the defendant is within the sole
discretion of the Court, This Office cannot, and does not, make any promise or representation as
to what sentence the defendant will receive, and will not recommend any specific sentence to the
Court. However, this Office will inform the Probation Office and the Court of (a) this Agreement,
(b) the nature and extent of the defendant’s activities with respect to this case and all other activities
of the defendant which this Office deems relevant to sentencing; and (c) the nature and extent of
the defendant’s cooperation with this Office, In so doing, this Office may use any information it

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deems relevant, including information provided by the defendant both prior to and subsequent to
the signing of this Agreement. In addition, if this Office determines that the defendant has
provided substantial assistance in an investigation or prosecution, and if he has fully complied with
the understandings specified in this Agreement, this Office will file a motion, pursuant to Section
5K1,1 of the Sentencing Guidelines, requesting the Court to sentence the defendant in light of the
factors set forth in Section 5K1.1(a)(1)-(5), It is understood that, even if such a motion is filed,
the sentence to be imposed on the defendant remains within the sole discretion of the Court.
Moreover, nothing in this Agreement limits this Office’s right to present any facts and make any
arguments relevant to sentencing to the Probation Office and the Court, or to take any position on
post-sentencing motions. The defendant hereby consents to such adjournments of his sentence as
may be requested by this Office.

It is understood that, should this Office determine either that the defendant has not provided
substantial assistance in an investigation or prosecution, or that the defendant has violated any
provision of this Agreement, such a determination will release this Office from any obligation fo
file a motion pursuant to Section 5K1.1 of the Seritencing Guidelines, but will not entitle the
defendant to withdraw his guilty plea once it has been entered.

It is understood that, should this Office determine, subsequent to the filing of a motion
pursuant to Section 5K1.1 of the Sentencing Guidelines and/or 18 U.S.C. §3553(e), that the
defendant has violated any provision of this Agreement, this Office shall have the right to withdraw
such motion.

It is understood that, should the defendant commit any further crimes or should it be
determined that he has given false, incomplete, or misleading testimony or information, or should
he otherwise violate any provision of this Agreement, the deferidant shall thereafter be subject to
prosecution for any federal criminal violation of which this Office has knowledge, including
perjury and obstruction of justice, Any such prosecution that is not time-barred by the applicable
statute of limitations on the date of the signing of this Agreement may be commenced against the
defendant, notwithstanding the expiration of the statute of limitations between the signing of this
Agreement and the commencement of such prosecution, It is the intent of this Agreement to waive
all defenses based on the statute of limitations with respect to any prosecution that is not time-
barred on the date that this Agreement is signed,

It is understood that in the event that it is determined that the defendant has committed any
further crimes, given false, incomplete, or misleading testimony or information, or otherwise
violated any provision of this Agreement, (a) all statements made by the defendant to this Office
or other designated law enforcement agents, and any testimony given by the defendant before a
grand jury or other tribunal, whether prior to or subsequent to the signing of this Agreement, and
any leads from such statements or testimony shall be admissible in evidence in any criminal
proceeding brought against the defendant; and (b) the defendant shall assert no claim under the
United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, or any other
federal rule that such statements or any leads therefrom should be suppressed. It is the intent of
this Agreement to waive all rights in the foregoing respects.

2020,11.02

 

 

 
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The defendant hereby acknowledges that he has accepted this Agreement and decided to
plead guilty because he is in fact guilty, By entering this plea of guilty, the defendant waives any
and all right to withdraw his plea or to attack his conviction, either on direct appeal or collaterally,
on the ground that the Government has failed to produce any discovery material, Jencks Act
material, exculpatory material pursuant to Brady v. Maryland, 373 U.S. 83 (1963), other than
information establishing the factual innocence of the defendant, or impeachment material pursuant
to Giglio v, United States, 405 U.S, 150 (1972), that has not already been produced as of the date
of the signing of this Agreement.

The defendant recognizes that, if he is not a citizen of the United States, his guilty plea and
conviction make it very likely that his removal from the United States is presumptively mandatory
and that, at a minimum, he is at risk of being removed or suffering other adverse immigration
consequences. If the defendant is a naturalized citizen of the United States, he recognizes that
pleading guilty may have consequences with respect to the defendant's immigration status, Under
federal law, an individual may be subject to denaturalization and removal if his naturalization was
procured by concealment of a material fact or by willful misrepresentation, or otherwise illegally
procured, The defendant acknowledges that he has discussed the possible immigration
consequences (including removal or denaturalization) of his guilty plea and conviction with
defense counsel, The defendant affirms that he wants to plead guilty regardless of any immigration
or dénaturalization consequences that may result from the guilty plea and conviction, even if those
consequences include denaturalization and/or removal from the United States. The defendant
understands that denaturalization and other immigration consequences are typically the subject of
a separate proceeding, and the defendant understands that no one, including his attorney or the
District Court, can predict with certainty the effect of the defendant’s conviction on the defendant's
immigration or naturalization status. It is agreed that the defendant will have no right to withdraw
his guilty plea based on any actual or perceived adverse immigration consequences (including
removal or denaturalization) resulting from the guilty plea and conviction. It is further agreed that
the defendant will not challenge his conviction or sentence on direct appeal, or through litigation
under Title 28, United States Code, Section 2255 and/or Section 2241, on the basis of any actual
or perceived adverse immigration consequences (including removal or denaturalization) resulting
from his guilty plea and conviction.

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This Agreement supersedes any prior understandings, pr omises, or conditions between this
Office and the defendant. No additional understandings, promises, or conditions have been entered
into other than those set forth in this Agreement, and none will be entered into unless in writing

 

 

 

 

 

 

and signed by all parties,
Vory truly yours,
AUDREY STRAUSS
United States Attorney
ON / Nn
” Gtalstopher J, DiMase
Assistant United States Attorney
(2.12) 637-2433
APPROVED:
Lome , Buc
LAURA GROSSFIELD BIRGE
Chief, Criminal Division
AGREED AND CONSENTED TO:
dt anes 1A ere 2/15/2021
James Patterson DATE
APPROVED:
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a Esq, DATE’

Attorney for James Patterson —

2020.11.02

 

 

 
